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Proposed Attorney for Debtor

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
IN RE §
8
JEMORRIS VENTURES, LLC. § CASE NO. 24-1590-ELM-11-V
§
Debtor §

SECTION 1188(C) STATUS CONFERENCE REPORT

JEMORRIS VENTURES, LLC, the above-captioned debtor and debtor-in-possession
(“Debtor”) has elected to file this case under subchapter V of chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”). Debtor files this report pursuant to § 1188(c) of

the Bankruptcy Code.

L Type of Plan of Reorganization. Debtor intends to pursue the following type of
plan of reorganization in this case:

Consensual plan that pays (a) secured debt on a monthly basis pursuant to modified or new
loan documents; (b) sale of spec house: (c) payment of priority claims; and (d) pro rata payment to
unsecured creditors over 60 months.

2. Reasons for Type of Plan of Reorganization.

Debtor will be able to pay administrative claims on the Effective Date or upon
allowance by the Court.

oi: Communications with Parties in Interest. Debtor has or will begin preliminary
discussions with the following parties in interest concerning Debtor’s plan of reorganization:

x Secured Creditors

Priority Claimants

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Unsecured Creditors

Equity Interest Holders

The Trustee

Others; Describe:

De General Nature of Communications with Parties in Interest.

Debtor, through counsel, has or will communicate with the Trustee, counsel for the
secured creditors, counsel for the largest unsecured creditors and the equity interest holders to
discuss framework for consensual plan after the section 341 meeting of creditors has been
concluded. The meeting has been continued to July 17, 2024.

3. Efforts to Formulate Plan of Reorganization.

Debtor, through counsel, has begun reviewing claims and income projections in
order to formulate the framework for a consensual, feasible plan. Debtor intends to seek
modification of existing loan documents, seek new financing, or sell its real property and
pay a dividend to unsecured creditors pro rata, over a 60 month period.

4. Timing for Filing Plan of Reorganization. Does Debtor intend to file a plan of
reorganization within the 90-day deadline imposed by § 1189(b) of the Bankruptcy Code?

x Yes No

5. Additional Information.

N/A

Dated: June 20, 2020

By: opel Morris, Managing Member

Respectfully submitted,

/s/Marilyn D. Garner

Marilyn D. Garner, Esq.

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CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing pleading was sent via first class U.S.
mail, and/or electronic mail to the parties listed on the attached mailing matrix on June 20, 2024.

/s/ Marilyn D. Garner
Marilyn D. Garner

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